        Case 3:15-cv-00880-L Document 1 Filed 03/19/15                 Page 1 of 5 PageID 1


                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

CLEAR VISION WINDSHIELD REPAIR                      §
LLC, JAMES AMOS, PHILLIP                            §
COSTLOW, EDITH GOINES,                              §
NATHANAEL WAGNER, MACK                              §
MOREAU, KAREN MCCLURE, ALEA                         §       CIVIL ACTION NO. __________
KOBLEZ, TRACY FORD, AND                             §
MICHELE ANTHONY,                                    §
                                                    §
            Plaintiffs,                             §
                                                    §
v.                                                  §
                                                    §
ALLSTATE FIRE AND CASUALTY                          §
INSURANCE COMPANY,                                  §
                                                    §
            Defendant.                              §


       DEFENDANT ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY’S
                          NOTICE OF REMOVAL


TO THE HONORABLE COURT:

            Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant Allstate Fire and Casualty Insurance

Company in Cause No. CC-15-01630, pending in the 160th Judicial District Court of Dallas

County, Texas, files this Notice of Removal from that court to the United States District Court for

the Northern District of Texas, Dallas Division, on the basis of diversity of citizenship and amount

in controversy and respectfully shows:

                                              I.
                                     FACTUAL BACKGROUND

            1.1    On or about February 11, 2015, Plaintiffs filed Plaintiffs’ Original Petition in the

matter styled Clear Vision Windshield Repair LLC, James Amos, Phillip Costlow, Edith Goines,

Nathanael Wagner, Mack Moreau, Karen McClure, Alea Koblez, Tracy Ford, and Michele


Notice of Removal                                                                                Page 1

2174352v1
03644.796
        Case 3:15-cv-00880-L Document 1 Filed 03/19/15               Page 2 of 5 PageID 2


Anthony v. Allstate Fire and Casualty Insurance Company, Cause No. CC-15-01630, pending in

the 160th Judicial District Court of Dallas County, Texas.

            1.2   Plaintiffs served Defendant Allstate Fire and Casualty Insurance Company

(“Allstate”) with Plaintiffs’ Original Petition and process on February 18, 2015, by process

server on its registered agent, CT Corporation System.

            1.3   Attached hereto as Exhibit “A” is the Index of State Court Documents that clearly

identifies each document and indicates the date the document was filed in the state court action.

Attached as Exhibit “B” is a copy of the docket sheet and all documents filed in the state court

are attached as Exhibits “B-1” through Exhibit “B-4” as identified on the Index of State Court

Documents.

                                             II.
                                     BASIS FOR REMOVAL

            2.1   Defendant files this notice of removal within 30 days of receiving Plaintiffs’

Original Petition. See 28 U.S.C. §1446(b). This Notice of Removal is being filed within one

year of the commencement of this action. See id.

            2.2   Removal is proper based upon diversity of citizenship under 28 U.S.C.

§§ 1332(a)(1), 1441(a), and 1446.

            A.    THE PROPER PARTIES ARE OF DIVERSE CITIZENSHIP.

            2.3   Plaintiff Clear Vision Windshield Repair LLC is a Michigan limited liability

company with its principal place of business in Florida and is a citizen of the States of Michigan

and Florida for diversity purposes. See Plaintiffs’ Original Petition, ¶ 4.

            2.4   Plaintiffs James Amos, Phillip Costlow, Edith Goines, Nathanael Wagner, Mack

Moreau, Karen McClure, Alea Koblez, Tracy Ford, and Michele Anthony are, and were at the

time the lawsuit was filed, domiciled in the State of Texas. See Plaintiffs’ Original Petition, ¶¶


Notice of Removal                                                                            Page 2

2174352v1
03644.796
        Case 3:15-cv-00880-L Document 1 Filed 03/19/15                 Page 3 of 5 PageID 3


5-13. On information and belief, Plaintiffs intend to continue residing in Texas and are thus

domiciled in Texas. See Hollinger v. Home State Mut. Ins. Co., 654 F.3d 564, 571 (5th Cir.

2011) (evidence of a person’s place of residence is prima facie proof of his state of domicile,

which presumptively continues unless rebutted with sufficient evidence of change).

            2.5   Defendant Allstate Fire and Casualty Insurance Company is an Illinois corporation

with its principal place of business in Illinois and is a citizen of the State of Illinois for diversity

purposes, and therefore, complete diversity exists.

            B.    THE AMOUNT IN CONTROVERSY EXCEEDS THE JURISDICTIONAL
                  REQUIREMENTS FOR SUBJECT MATTER JURISDICTION.

            2.6     This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiffs have specifically pled that he is seeking monetary relief over $100,000. See Plaintiffs’

Original Petition, ¶ 3.

                                        III.
                       THE REMOVAL IS PROCEDURALLY CORRECT

            3.1   Defendant Allstate was first served with Plaintiffs’ Original Petition and process

on February 18, 2015. This notice of removal is filed within the 30-day time period required by

28 U.S.C. § 1446(b).

            3.2   Venue is proper in this District and Division under 28 U.S.C. §1446(a) because

this District and Division include the county in which the state action has been pending.

            3.3   Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings

in the state court action are attached to this Notice.

            3.4   Pursuant to 28 U.S.C. §1446(d), promptly after Defendant files this Notice,

written notice of the filing will be given to Plaintiffs, the adverse party.




Notice of Removal                                                                                 Page 3

2174352v1
03644.796
        Case 3:15-cv-00880-L Document 1 Filed 03/19/15                Page 4 of 5 PageID 4


            3.5   Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice of Removal

will be filed with the Clerk of the Dallas County District Court, promptly after Defendant files

this Notice.

                                              IV.
                                          CONCLUSION

            4.1   Based upon the foregoing, the exhibits submitted in support of this Removal and

other documents filed contemporaneously with this Notice of Removal and fully incorporated

herein by reference, Defendant Allstate Fire and Casualty Insurance Company hereby removes

this case to this Court for trial and determination.

                                               Respectfully submitted,

                                               /s/ Roger D. Higgins
                                               Roger D. Higgins           State Bar No. 09601500
                                               Jacquelyn Chandler         State Bar No. 24001866
                                               Vanessa A. Rosa            State Bar No. 24081769
                                               Travis M. Brown            State Bar No. 24061890

                                               THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                               Plaza of the Americas
                                               700 North Pearl Street, 25th Floor
                                               Dallas, Texas 75201-2832
                                               Telephone:     (214) 871-8200
                                               Fax:           (214) 871-8209
                                               rhiggins@thompsoncoe.com
                                               jchandler@thompsoncoe.com
                                               vrosa@thompsoncoe.com
                                               tbrown@thompsoncoe.com

                                               ATTORNEYS FOR DEFENDANT
                                               ALLSTATE FIRE AND CASUALTY
                                               INSURANCE COMPANY




Notice of Removal                                                                            Page 4

2174352v1
03644.796
        Case 3:15-cv-00880-L Document 1 Filed 03/19/15              Page 5 of 5 PageID 5


                                     CERTIFICATE OF SERVICE

       This is to certify that on March 19, 2015, a true and correct copy of the foregoing document
was sent to all Counsel of Record via electronic service and/or certified mail, return receipt
requested to:

            Jay K. Gray
            GRAY LAW
            4514 Travis Street
            Travis Walk, Suite 300
            Dallas, Texas 75205
            214-599-0602 [fax]
            ikurtisgray@yahoo.com

            Andrew A. Bergman
            ANDREW A. BERGMAN, P.C.
            4514 Travis Street
            Travis Walk, Suite 300
            Dallas, Texas 75205
            214-599-0602 [fax]
            bergman@abergmanlaw.com

            ATTORNEYS FOR PLAINTIFFS


                                             /s/ Roger D. Higgins
                                             Roger D. Higgins




Notice of Removal                                                                            Page 5

2174352v1
03644.796
